Case 9:20-md-02924-RLR Document 3099-3 Entered on FLSD Docket 03/24/2021 Page 1 of 2

                                                                      Privileged and Confidential
                                                                         Joint Defense Privileged
                                                                          Attorney Work Product
                                DECLARATION OF PAUL ZVALENY

           I, Paul Zvaleny, of legal age and resident of Maryland, declare and state under penalty of

    perjury pursuant to 28 U.S.C. § 1746(2) that the following is true and correct:

           1.      I am competent to testify in all respects and to make this declaration. I have

    personal knowledge regarding the matters stated in this declaration. If called to testify, I could

    and would testify consistently with the statements in this declaration.

           2.      I am the Director of Pharmacy Operations for Giant of Maryland LLC.

           3.      In my current position, I am responsible for pharmacy operations for Giant of

    Maryland LLC, and as a result am familiar with Giant of Maryland’s products and practices in

    this area. Giant of Maryland is a subsidiary of Giant Food, LLC, which is a subsidiary of Ahold

    USA, Inc.

           4.      Giant of Maryland LLC has never held a New Drug Application or Abbreviated

    New Drug Application for Zantac or other ranitidine-containing products.

           5.      Giant of Maryland LLC did not design, manufacture, label, package, or distribute

    Zantac or other ranitidine-containing products.

           6.      Giant of Maryland LLC has never been an approved manufacturer of Zantac or

    other ranitidine-containing products and has never been listed or registered with FDA to

    manufacture Zantac or other ranitidine-containing products.

           7.      At no time did Giant of Maryland LLC have the authority or ability to change or

    modify the FDA-approved design, label, and manufacturing process for Zantac or other

    ranitidine-containing products.

           8.      At all times relevant to this litigation, Giant of Maryland LLC did not have

    knowledge or information that any ranitidine-containing drug products contained N-

                                                      1
Case 9:20-md-02924-RLR Document 3099-3 Entered on FLSD Docket 03/24/2021 Page 2 of 2

                                                                     Privileged and Confidential
                                                                        Joint Defense Privileged
                                                                         Attorney Work Product
    nitrosodiethylamine (“NDMA”) or could degrade under certain conditions to form NDMA.

    Giant of Maryland LLC first learned about the presence of NDMA in certain ranitidine-

    containing drug products in 2019, when such information became publicly available.

           9.      Giant of Maryland LLC does not test or otherwise investigate for unknown and

    undisclosed risks of FDA-approved products it carries in the ordinary course of its business.

                          22nd day of March, 2021 in ___________________.
           Executed this ______                      Gambrills, Maryland




                                                 __________________________________
                                                 Paul Zvaleny




                                                    2
